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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 0:20-cv-60815

  MAP LEGACY INC. D/B/A SIGNATURE
  GRAND,

          Plaintiff,

  v.

  ZURICH AMERICAN               INSURANCE
  COMPANY,

        Defendant.
  __________________________________/

                                            COMPLAINT

          COMES NOW, Plaintiff, MAP LEGACY INC. D/B/A SIGNATURE GRAND

  (hereinafter “Plaintiff“), by and through the undersigned attorneys, brings this action against the

  Defendant, ZURICH AMERICAN INSURANCE COMPANY (hereinafter “Defendant“), and

  alleges the following:

                                   JURISDICTION AND VENUE

          1.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1332 & 1391. The parties

  have complete diversity of citizenship, the amount in controversy is more than $75,000.00,

  exclusive of costs, interest, and attorney’s fees, and the events giving rise to this cause of action

  occurred in this District.

                                              PARTIES

          2.      At all material times relevant to this Complaint, Plaintiff has owned and operated

  the Signature Grand, a landmark South Florida reception venue located at 6900 SR 84, Davie,

  Broward County, Florida 33317 (hereinafter the “Subject Property”), with a reputation for hosting
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  elegant weddings, grand social occasions, and corporate events since 1996, and is otherwise sui

  juris.

           3.     Defendant has been and is now a surplus lines insurance carrier with its principle

  place of business in the State of New York authorized to insure all properties located in the State

  of Florida, including properties located in Broward County, Florida, and is otherwise sui juris.

                                     THE INSURANCE POLICY

           4.     In consideration for the premiums paid to it, Defendant issued Plaintiff a valid,

  binding, and enforceable policy of insurance bearing Policy Number CPO 7443960 01 (hereinafter

  the “Subject Policy”). A true and correct copy of the Subject Policy is attached hereto and

  incorporated herein as Exhibit “A.”

           5.     The Subject Policy is an “all risk” insurance policy that covers all losses to the

  Subject Property that are not otherwise expressly excluded.

           6.     The Subject Policy was and is effective between the dates of August 8, 2019, and

  August 8, 2020.

                                 THE CORONAVIRUS PANDEMIC

           7.     “Coronaviruses are a family of viruses that can cause illnesses such as the common

  cold, severe acute respiratory syndrome (SARS) and Middle East respiratory syndrome (MERS).

  In 2019, a new coronavirus was identified as the cause of a disease outbreak that originated in

  China” designated as SARS-CoV-2 also known as the 2019 Novel Corona Virus or COVID-19

  (hereinafter “COVID-19”).1




  1
      Mayo      Clinic,   Coronavirus   Disease   2019   (COVID-19),   https://www.mayoclinic.org/diseases-
  conditions/coronavirus/symptoms-causes/syc-20479963.
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          8.      On March 9, 2020, Florida Governor Ron DeSantis, on the recommendations of the

  Centers for Disease Control and Prevention (“CDC”), the State Surgeon General, and the State

  Health Officer, declared that a State of Emergency exists in Florida as a result of the COVID-19

  outbreak.2

          9.      On March 10, 2020, Broward County issued a Declaration of Emergency due to the

  presence of COVID-19 posing “a clear and present threat to the health and welfare of the people

  of Broward County.”3

          10.     On March 11, 2020, the World Health Organization announced that, due to “the

  alarming levels of spread and severity,” the COVID-19 outbreak rose to the level of a pandemic.4

          11.     On March 13, 2020, President Donald J. Trump declared that the “COVID-19

  outbreak constitutes a national emergency” and applied same retroactively to March 1, 2020.5

          12.     On March 22, 2020, Broward County issued Emergency Order 20-01 ordering the

  closure of all nonessential retail and commercial businesses due to “the propensity of [COVID-

  19] to spread person to person and also because the virus is physically causing property damage

  due to its proclivity to attach to surfaces for prolonged periods of time.”6



  2
      Office of the Governor of Florida, Executive Order Number 20-52 (March 9, 2020), https://www.flgov.com/wp-
  content/uploads/orders/2020/eo_20-52.pdf.
  3
       Bertha Henry, Broward County Administrator, Declaration of Emergency                (March   10,   2020),
  https://www.broward.org/coronavirus/documents/declaration-of-emergency-1.pdf.
  4
       World Health Organization, WHO Director-General’s Opening Remarks at the Media Briefing on COVID-19
  (March 11, 2020), https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-
  briefing-on-covid-19---11-march-2020
  5
      President Donald J. Trump, Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus
  Disease (COVID-19) Outbreak (March 13, 2020) https://www.whitehouse.gov/presidential-actions/proclamation-
  declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.
  6
       Bertha Henry, Broward County Administrator, Emergency Order 20-01                  (March    22,   2020),
  https://www.broward.org/coronavirus/documents/berthahenryexecutiveorder20-01.pdf.
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                                             THE CLAIM

         13.     On or about March 12, 2020, the COVID-19 pandemic caused direct physical loss

  and resultant/ensuing damages to the Subject Property (hereinafter the “Loss”).

         14.     Additionally, as a result of the Loss, Plaintiff sustained a loss of business income.

         15.     To compound issues, the closure of all nonessential retail and commercial

  businesses as mandated in Broward County Emergency Order 20-01 caused additional lost

  business income.

         16.     Direct, resultant, and/or ensuing damages and/or loss of business income caused by

  the COVID-19 pandemic and Emergency Order 20-01 are covered under the Subject Policy.

         17.     Direct, resultant, and/or ensuing damages and/or loss of business income caused by

  the COVID-19 pandemic and Emergency Order 20-01 are not excluded from the Subject Policy.

         18.     Plaintiff timely notified Defendant of the Loss.

         19.     Defendant responded to the Loss by opening claim number 5630046766

  (hereinafter the “Claim”).

         20.     Through its adjustment of the Claim, Defendant has been afforded the opportunity

  to fully inspect the Loss, investigate the cause of the Loss, and quantify the amount of the Loss.

         21.     Ultimately, Defendant denied coverage for the Claim without inspection or

  investigation. A copy of the denial correspondence is attached hereto as Exhibit “B.”

         22.     Plaintiff has complied with all prerequisites, whether denominated conditions

  precedent, duties after loss, or otherwise, to receive benefits or proceeds under the Subject Policy,

  or maintain the instant suit for the breach or declaration of the Subject Policy; alternatively,

  Defendant has waived or never had standing to assert any prerequisites, whether denominated as

  conditions precedent, duties after loss, or otherwise.
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                                  COUNT I – DECLARATORY RELIEF

          23.      Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 22 as if fully

  set forth herein and further state:

          24.      This is an action for declaratory judgment pursuant to 28 U.S.C. §§ 2201 & 2202,

  and Rule 57, Federal Rules of Civil Procedure.

          25.      The Commercial Property Definitions contained within the Subject Policy defines

  “microorganism”7 as follows:

          44. “Microorganism” means any type or form of organism of microscopic or
              ultramicroscopic size including, but not limited to, “fungus”, wet or dry rot,
              virus, algae, or bacteria, or any by-product.

  See Exhibit “A,” SG000052.

          26.      The Real and Personal Property Coverage Form contained within the Subject Policy

  contains an exclusionary provision related to “microorganisms” as follows:

          B. EXCLUDED CAUSES OF LOSS
                                                  *        *        *
                12. Microorganisms

                   We will not pay for loss or damage consisting of, directly or indirectly
                   caused by, contributed to, or aggravated by the presence, growth,
                   proliferation, spread, or any activity of “microorganisms”, unless resulting
                   from fire or lightning. Such loss or damage is excluded regardless of any
                   other cause or event, including a “mistake”, “malfunction”, or weather
                   condition, that contributes concurrently or in any sequence to the loss, even
                   if such other cause or event would otherwise be covered.

                   But if a result of one of these excluded causes of loss is a “specified cause
                   of loss”, other than fire or lightning, we will pay that portion of the loss or
                   damage which was solely caused by that “specified cause of loss”.



  7
    Generally speaking, viruses are not considered “microorganisms” by the scientific community at large as viruses do
  not possess the qualities typically associated with living organisms such as responses to changes in the environment
  or the ability to reproduce independently; however, as the Subject Policy includes “virus” in its definition of
  “microorganism,” viruses such as COVID-19 are to be considered “microorganisms” with regards to this particular
  insurance policy and cause of action.
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                  We will also not pay for loss, cost, or expense arising out of any request,
                  demand, order, or statutory or regulatory requirement that requires any
                  insured or others to test for, monitor, clean up, remove, treat, detoxify, or
                  neutralize, or in any way respond to, or assess the effects of
                  “microorganisms”.

  See Exhibit “A,” SG000067.

         27.      However, the Commercial Property Coverage Part Declarations contained within

  the Subject Policy reflects Limits of Insurance as follows:

         ADDITIONAL COVERAGES – LIMITS OF INSURANCE
                                            *       *      *
         MICROORGANSIMS                                 $100,000 ANNUAL AGGREGATE

         MICROORGANSIMS-BUSINESS INCOME $100,000 ANNUAL AGGREGATE

  See Exhibit “A,” SG000027

         28.      With regards to the additional coverages for “Microorganisms,” the Additional

  Coverages Form contained within the Subject Policy provides as follows:

         A. ADDITIONAL COVERAGES FORM
                                            *       *      *
               14. Microorganisms

                  We will pay the following when “microorganisms” are the result of a
                  “covered cause of loss”, other than fire or lightning:

                  a. Direct physical loss of or damage to Covered Property caused by
                     “microorganisms”, including the cost of removal of the
                     “microorganisms”;

                  b. The reasonable cost to tear out and replace any part of the covered
                     building or other property needed to gain access to the
                     “microorganisms”; and

                  c. The reasonable cost of testing performed after removal, repair,
                     replacement, or restoration of the damaged property is completed,
                     provided there is a reason to believe that the “microorganisms” are still
                     present.
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                 The most we will pay under this Additional Coverage in any one policy year
                 is the Annual Aggregate Limit of Insurance shown on the Declarations for
                 Microorganisms. Regardless of the number of claims, this Limit is the most
                 we will pay for the total of all loss, damage, or cost, even if the
                 “microorganisms” continue to be present, active, or recur.

                 The Limit for this Additional Coverage is included in, and not in addition
                 to, any other applicable Limits of Insurance.

  See Exhibit “A,” SG00079.

         29.     Additionally, with regards to the additional coverages for “Microorganisms-

  Business Income,” the Business Income Coverage Form (Excluding Extra Expense) form

  contained within the Subject states as follows:

         B. ADDITIONAL COVERAGES
                                           *        *      *
               8. Microorganisms

                 We will pay for the actual loss of “business income” you sustain due to
                 the:

                 a. Necessary “suspension” of your “operations” from direct physical loss
                    of or damage to Covered Property caused by “microorganisms” when
                    the “microorganisms” are the result of a “covered cause of loss”; or

                 b. Prolonged “period of restoration” due to the remediation of
                    “microorganisms” from a covered loss.

                 The most we will pay under this Additional Coverage in any one policy year
                 is the Annual Aggregate Limit of Insurance shown on the Declarations for
                 Microorganisms--Business Income. Regardless of the number of claims,
                 this Limit of Insurance is the most we will pay for the total of all loss, even
                 if the “microorganisms” continue to be present, active, or recur.

  See Exhibit “A,” SG000117-SG000118.

         30.     Upon information and belief, a portion of the premiums paid by the Plaintiff to the

  Defendant for the Subject Policy account for coverage of damages caused by microorganisms.
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             31.   Defendant’s denial of the Claim was based, in pertinent part, on the assertion that

  damage caused by the COVID-19 pandemic “would be excluded under the ‘microorganism’

  exclusions” contained within the Subject Policy. See Exhibit “B,” SG000266.

             32.   Based on the above-cited provisions, the policy appears to both exclude and afford

  coverage for damages caused by viruses as included in the definition of “microorganisms.”

             33.   To the extent the Subject Policy contains conflicting terms regarding coverage and

  exclusions for damages caused by microorganisms, the terms of the Subject Policy are ambiguous.

             34.   As such, Plaintiff is in doubt as to its rights under the Subject Policy and whether

  the policy provides coverage for damages and/or a loss of business income caused by viruses such

  as COVID-19.

             35.   Defendant's actions and positions taken demonstrate an actual, present practical

  need for declaration from this Honorable Court.

             36.   This Honorable Court is permitted to determine the existence or non-existence of any

  right, duty, power, or privilege, or of any fact upon which the legal relationship between the parties

  depends.

             37.   The Plaintiff is entitled to have this Honorable Court remove all doubts raised by

  Defendant concerning the application of the facts of the Claim to the Subject Policy.

             38.   The declaration sought with regard to the instant controversy is of a justiciable nature,

  does not amount to an advisory decree, and will assist in the resolution of the controversy between the

  parties.

             39.   As a result of this dispute, it has become necessary that Plaintiff retain the services

  of the undersigned attorneys. Plaintiff is obligated to pay a reasonable fee for the undersigned

  attorneys’ services in bringing this action, plus costs. Plaintiff is entitled to reimbursement of these

  fees and costs by the Defendant subject to Section 626.9373, Florida Statutes.
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          WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

          A.      Take jurisdiction of the subject matter and parties thereto;

          B.      Determine applicable laws that apply to the Subject Policy;

          C.      Declare that the provisions of the Subject Policy, including any ambiguities, be
                  construed strictly and most strongly against the insurer, and liberally in favor of the
                  insured, so as to affect the dominant purpose of coverage and/or indemnification;

          D.      Declare that the Subject Policy does not blanketly exclude coverage for loss caused
                  by viruses;

          E.      Declare that the Plaintiff is entitled to a claim for attorneys’ fees and costs against
                  Defendant, and to determine the amount of such fees and costs to be paid to the
                  Plaintiff inclusive of a contingency fee multiplier; and

          F.      Determine and declare any other material matters pertaining to the respective rights
                  and responsibilities under the Policy, as needed to do complete justice in this case.

                              COUNT II - BREACH OF CONTRACT

          40.     Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 22 as if fully

  set forth herein and further state:

          41.     Defendant has failed and/or refused to honor the contractual coverage in the Subject

  Policy by failing and/or refusing to compensate Plaintiff and/or pay benefits owed under the

  Subject Policy for the Claim based on the Loss.

          42.     Plaintiff has suffered damages including, but not limited to, insurance benefits

  under the Subject Policy and damages from Defendant’s breach of the Subject Policy.

          43.     Defendant’s denial of the Claim refusal to pay any amounts due and owing under

  the Subject Policy is a breach of the insurance contract.

          44.     As a result of this dispute, it has become necessary that Plaintiff retain the services

  of the undersigned attorneys. Plaintiff is obligated to pay a reasonable fee for the undersigned
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  attorneys’ services in bringing this action plus costs. Plaintiff is entitled to reimbursement of these

  fees and costs by the Defendant subject to Section 626.9373, Florida Statutes.

          45.     Should Plaintiff prevail in this action, Plaintiff shall be entitled to interest as

  prescribed by the governing laws.

          WHEREFORE, Plaintiff respectfully requests that this Honorable Court award:

          A.      General compensatory damages;

          B.      Consequential damages;

          C.      Interest;

          D.      Attorneys’ fees associated with the instant litigation, including a contingency fee
                  multiplier;

          E.      Costs incurred as a result of the instant litigation; and

          F.      Any such other and further relief as this Court deems just and appropriate.

                                    DEMAND FOR JURY TRIAL

          Plaintiff, MAP LEGACY INC. D/B/A SIGNATURE GRAND, demands a trial by jury on

  all issues so triable.

          Respectfully submitted this day, April 20, 2020.

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